        Case 1:23-cr-00005-APM Document 15-2 Filed 02/10/23 Page 1 of 4



                                                                                    February 5, 2023

 Dear Judge Mehta,

   Please accept this letter in support of Eric Christie's release on bond, a decision I implore you
to make. He is not a danger to anyone, and he will be there for all required court appearances.

   I have known Eric for a few years, we became very good friends, and I love him like a
brother. I know he would not hurt any law enforcement or anyone. He is deeply rooted in the
community and if released will continue to be a peaceful, gentle, valuable member.

    Eric and I went to church and different events, and seminars. We have common friends and
often go out to eat. I love Eric because he is a kind, caring person, and he loves America. He also
loves his mother whom he respects, and he spoke highly of her. She is now frail in her elder
years. He was raised to be a decent person and he continues to be a decent person. Eric has a
generous, big heart that not everyone knows about because he does not advertise his good deeds. I
witnessed many times that Eric helped people in need financially and paid for elder people's food
- "people with financial difficulty."

    He cares for our community. Eric campaigned as a certified Candidate in the District 4
election for council member. Eric is a devout Christian and was raised in Christianity. His friends
consider Eric an asset to the community as he cares for our neighborhoods and the safety of the
streets. For example, a while back Eric worked with L.A. police to help clear his previous
neighborhood of drug dealers and vagrants who threatened the safety of the community members.
Another example: Eric helped a friend out of a violent relationship with an abusive spouse. And
Eric is gay and a gay-rights advocate, where he understands the shunning, harm and violence
inflicted on those who are gay. His advocacy brings the philosophy of love and nonviolence,
despite what is meted out by those who do not accept or outright hate gays.

   On the morning of December 22nd, 2022, when the FBI raided his home. I received several
calls from Eric. Eric appeared to be in extreme anxiety. He gathered himself to tell me that the
FBI was there in a large number to take him away. Over the phone I could hear the FBI banging
hard with an object that I later learned was to break in his door. Eric was breathing hard and
freaking out, "They are here, they are here, they wanna kidnap me, they wanna hurt me."

   I find it hard to believe that nearly two years after investigating January 6, 2021, and getting
into all of Eric's records, checking, and credit cards, that the FBI was unaware that Eric had been
treated for anxiety. The FBI's actions on December 22, 2022 were the opposite of how you arrest
someone with anxiety. They could have mailed him a letter asking that he self- surrender. Eric
never attacked or threatened anyone and was not a danger to anyone ever. There was no reason for
a violent assault on his home when all the FBI needed to do was ask for his phone and the clothes
he wore on January 6, 2021, and that he bring those at self-surrender. I see no reason that Eric
would not have admitted he was in D.C. on January 6 and why the FBI instead treated him like
an Al Qaida terrorist.




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          Case 1:23-cr-00005-APM Document 15-2 Filed 02/10/23 Page 2 of 4



    When I got to his home and saw the SWAT team with about forty law enforcement persons, and
many vehicles, it felt like I was back in Iran when IRGC attacked people's homes to take them
away. The scene was horrible, with streets blocked off, and it seemed designed to trap Eric inside
rather than allow him to walk out. The FBI must have wanted to terrify the neighborhood, especially
when Eric is such a gentle person and the FBI had to know he had anxiety. The scene took me back
to IRGC thugs in Iran and I was extremely stressed.

    Looking back, I believe the FBI actions brought on something like Post Traumatic Stress
Disorder to me. I became extremely anxious since while I lived in Iran, the IRGC shot my sister
when she was at someone else's home, arrested her, and then executed her. After my sister's
execution, the IRGC raided and searched my family's home twice. The scene at Eric's condo looked
as if I were back in Iran and not in America. The excessive use of force raid against Eric scared me
and made me think back to Iran abuses. Eric is a kind, gentle man with anxiety who had never
harmed or threatened anyone but here was a large, armed raid with law enforcement wearing armor
and resembling the IRGC. The FBI actions created what seemed to me like a stage for them to
shoot Eric, which was what the IRGC did to my sister before jailing her and then the government
executing her where she had never hurt anyone.

   I wanted to help Eric so I jaywalked to get closer to the condo area to let the FBI know that they
needed to wait until Eric's attorney, George, got there. Instead of helping, a female officer told me
that I was detained for jaywalking. She ordered me not to move and remain where I was. I
informed her that I was Eric's friend. She called FBI agents over, and at the same time, Eric called
me. Eric had called me to find out if I was there outside and ask what was going on.

   When the FBI realized Eric was on the phone with me, 5 of the FBI agents surrounded me and
got right up to my face to try to listen. It was horrible. An agent demanded that I ask Eric if he had
any guns. The person who initiated any mention of guns on December 22, 2022 was the FBI agent.
He wanted guns to be part of the conversation while Eric had not said anything about guns. The FBI
created the issue of Eric's legally owned guns as an issue even though we know from reading about
January 6 cases across America that many defendants legally own guns. In Eric's case, the FBI as I
view it in retrospect, deliberately planted the gun question because they knew he was a Second
Amendment advocate. Eric was on record as owning a gun and had registered his handgun(s).

    The question about guns made me associate with Iran and think that Eric might kill himself
rather than be subjected to the new form of IRGC here. I even wondered if the FBI was trying to
get Eric to kill himself. I want to be clear that my PTSD symptoms led to my assessment because
of the FBI encouragement of gun talk. Eric never said anything about harming himself or anyone
else. l imagined the worst of everything. l ended the call. I did not want to say out loud that Eric
might kill himself because I believed the FBI would try to get that to happen. Nothing about the
FBI raid made any sense for America and a peaceful man as the subject. Instead, I said "he is going
to shoot you" so that the FBI would stop its aggressive action. Eric never said he would shoot
anyone - I wanted the FBI to stop taunting Eric who was in a panic. I did not know any other way
to help Eric and did not want to remain silent as many did in Iran while IRGC killed people.




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          Case 1:23-cr-00005-APM Document 15-2 Filed 02/10/23 Page 3 of 4


    After I disconnected the call with Eric, I also told the FBI agent, a male "agent in charge," that
they needed to wait for Eric's attorney George, and a close friend, Yvet. I think I was in tears and
terrified and told them that Eric was having a nervous breakdown and is very scared and that Eric
thought they were there to hurt or kidnap him. I assured the agent that Yvet, another close friend
of Eric, and Eric's attorney George were on their way there and would arrive in 15 minutes.

   I also remember telling the FBI agent who said he was in charge that we don't want anybody to
get hurt and that if anything happened to Eric they would be responsible. Suddenly the agent
grabbed my phone. I was shocked. I asked, "why did you grab my phone," and I told him that he
had "stolen my property," and that is unlawful. When I said, "Give back my phone," he replied,
"you are recording us." I informed him that I was not, and said, "Why would recording you make
you so nervous that you unlawfully steal my phone?" He replied it was not unlawful. I demanded
my phone back, and I offered I would unlock my phone for him to see that I was not recording.
Once he realized that I was not recording my conversation with them, he told the lady FBI agent "get
her out of here and give her the phone back."

   I firmly believe they were there to ki1 Eric or cause a confrontation by their planned tactics. My
belief is backed by their awful actions that included breaking in Eric's front door, breaking into
Eric's bedroom glass door, smashing the glass skylight, flying a drone inside his condo, and
launching tear gas inside. They had no idea that Eric was not in the bedroom when they sent
shattered glass flying into the room and onto the bed. There was no reason to not have just knocked
on the front door. I became near hysterical when I saw that the situation appeared arranged to hurt
Eric even before knowing all the abuse the FBI did. The tone of voice and demeanor gave off a
sense that the FBI was trying to hurt Eric.

   Once Eric's attorney George arrived I heard the FBI tell George that Eric is not under arrest,
and they were there because they had a search warrant for a traffic violation "misdemeanor
charges." George asked, "since when does the FBI raid people for a traffic violation?" The FBI
agent replied that they also wanted to question Eric about January 6. He said Eric is not under
arrest and they will take him to ask him a few questions and Eric will be free to go home that
same afternoon. The FBI as we now know outright lied to Eric's attorney and close friends. Why
didn't the FBI just speak the truth? They could have knocked on the door and said politely "you
are under arrest, come out, and we have a search warrant." Instead, they blew out glass that could
have killed Eric, rammed his door in, and refused to speak truthfully all the while knowing they
were raising Eric's anxiety by the non-sensical force and lies.

   George asked for a copy of the search warrant and the FBI agent did not have a hard copy.
George informed them that Eric wanted and was entitled to see a hard copy. For a forty-plus
person team that arrived incredibly with negotiators to make an arrest and search, it took the FBI 30
to 45 minutes to produce a copy. It did not appear their purpose was to peacefully search anywhere.

    Eric was so anxious and stressed with the use of force and FBI scene that before he came out he
called me and asked me if it was safe to come out. He said Yvet told him it is safe, but he wanted
to speak with me and make sure that he will be safe and that the FBI agents would not shoot him.




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       Case 1:23-cr-00005-APM Document 15-2 Filed 02/10/23 Page 4 of 4




   I want to highlight that for the multiple times Eric called me on December 22, 2022 that
he did not ever threaten anyone and especially not the FBI and any Law Enforcement. In fact,
Eric was extremely worried that the FBI and/or Law Enforcement intended to shoot and kill
him. Despite his perceived threat against his life, Eric never threatened harm or a return fight.
He is non-violent. He did not want to walk out and be shot dead in front of his home.

    Please release Eric. His friends like me need his caring words and presence. We are grief
stricken that he is in jail. Eric is not a criminal. He needs to be at work. He will always remain
peaceful, and he will obey all court orders.


   Sincerely,




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